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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

JAMES HARRIS LANG,                              §
                                                §
        Plaintiff,                              §
VS.                                             §   CIVIL ACTION NO. 4:17-CV-2625
                                                §
OCWEN LOAN SERVICING, LLC, et al,               §
                                                §
        Defendants.                             §

                                            ORDER

       A suggestion of bankruptcy has been filed in this cause by the plaintiff, James Harris

Lang. The plaintiff/debtor filed a petition under Chapter 13 of the Bankruptcy Code in the United

States Bankruptcy Court for the Southern District of Texas, Case No. 18-33266. A petition filed

under 11 U.S.C. §§301, et seq., operates as a stay of a judicial proceeding that was commenced

against the debtor before the bankruptcy proceeding. 11 U.S.C. §362(a)(1). Accordingly, this

case is STAYED as to the plaintiff, James Harris Lang.

       It is so ORDERED.

       SIGNED on this 18th day of June, 2018.


                                                ___________________________________
                                                Kenneth M. Hoyt
                                                United States District Judge




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